Case 8:19-cv-01363-JVS-KES        Document 115 Filed 09/25/24          Page 1 of 16 Page ID
   1                                    #:2016
   2
   3
   4
   5
   6
   7
   8
                            UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
   10
        RYAN S.
   11
                      Plaintiff(s),               CASE NO:
   12                                             8:19−cv−01363−JVS−KES
             v.
   13                                             I. ORDER FOR JURY TRIAL
        UNITEDHEALTH GROUP, INC. , et al.
   14                                                SETTING DATES FOR:

   15                                                  Pre-Trial Conference:
                                                       July 20, 2026
                     Defendant(s).                     at 11:00 AM
   16
   17                                                  JURY TRIAL:
                                                       August 4, 2026
   18                                                  at 08:30 AM

   19                                             II. Order for Preparation
                                                      for JURY TRIAL
   20
                                                  III. Order Governing Attorney &
   21                                                  Party Conduct at Trial.

   22
   23
   24
   25                                             I.
   26    SCHEDULING:
   27         1.   In General: All motions to join other parties or to amend the
   28    pleadings shall be filed and served within sixty (60) days of the date of this order

  Revised February 1, 2023                      −1−
Case 8:19-cv-01363-JVS-KES      Document 115 Filed 09/25/24 Page 2 of 16 Page ID
                                         #:2017
        and noticed for hearing within ninety (90) days hereof. All unserved parties shall
   1
   2    be dismissed no later than the date set for the Final Pre-Trial Conference.

   3
   4         2.   Motions for Summary Judgment or Partial Summary Judgment:

   5    Motions for summary judgment or partial summary judgment shall be heard no

   6    later than the last day for hearing motions, as set forth in the accompanying minute

   7    order.

   8
   9         3.   Motions Index: If any motion or set of motions concurrently

   10   noticed involves more than three pleadings, the moving party shall file within

   11   three days of filing an index of the moving papers (e.g., notice, memorandum of

   12   points and authorities, declaration) with the names of each pleading and the docket

   13   number. Within three days of filing reply papers, the moving party shall file an

   14   updated index of all moving papers, all opposition papers, and all reply papers

   15   with the name of each pleading and the docket number. Where redacted pleadings

   16   have been filed, the index should refer to the undredacted version.

   17
   18        4.   Discovery Cut-Off: The Court has established a cut-off date for

   19   discovery in this action. All discovery is to be completed on, or prior to, the cut-

   20   off date. Accordingly, the following discovery schedule shall apply to this case:

   21
   22             A.   Depositions: All depositions shall be scheduled to commence at

   23   least five (5) working days prior to the discovery cut-off date. All original

   24   depositions to be used in trial shall be lodged with the Courtroom deputy

   25   on the first day of trial or such earlier date as the Court may order.

   26
   27             B.   Interrogatories: All interrogatories must be served at least

   28   forty-five (45) days prior to the discovery cut-off date. The Court will not approve


  Revised February 1, 2023                      −2−
Case 8:19-cv-01363-JVS-KES     Document 115 Filed 09/25/24 Page 3 of 16 Page ID
   1    stipulations between counsel that#:2018
                                          permit responses to be served after the cut-off

   2    date except in extraordinary circumstances.

   3
   4                C.   Production of Documents, etc.: All requests for production,

   5    etc., shall be served at least forty-five (45) days prior to the discovery cut-off date.

   6    The Court will not approve stipulations between counsel that permit responses to

   7    be served after the cut-off date except in extraordinary circumstances.

   8
   9                D.   Request for Admissions: All requests for admissions shall

   10   be served at least forty-five (45) days prior to the discovery cut-off date. The

   11   Court will not approve stipulations between counsel that permit responses to be

   12   served after the cut-off date except in extraordinary circumstances.

   13
   14               E.   Discovery Motions: Any motion respecting the inadequacy

   15   of responses to discovery must be filed and served not later than ten (10) days

   16   after the discovery cut-off date. Whenever possible, the Court expects counsel to

   17   resolve discovery problems among themselves in a courteous, reasonable, and

   18   professional manner. Repeated resort to the Court for guidance in discovery is

   19   unnecessary and may result in the Court appointing a Special Master at the joint

   20   expense of the parties to resolve discovery disputes. The Court expects that

   21   counsel will strictly adhere to the Civility and Professional Guidelines adopted by

   22   the United States District Court for the Central District of California.

   23
   24               F.   Disclosure of Expert Testimony: The above discovery cut-

   25   off date includes expert discovery, unless otherwise ordered by Court, and the

   26   Court orders the sequence of disclosures provided by Fed. R. Civ. Proc.

   27   26(a)(2)(C), unless the parties otherwise stipulate in writing and obtain the Court’s

   28   approval.


  Revised February 1, 2023                      −3−
Case 8:19-cv-01363-JVS-KES
                         Document 115 Filed 09/25/24                  Page 4 of 16 Page ID
                               #:2019
        FINAL PRE−TRIAL CONFERENCE:
   1
   2
   3         This case has been placed on calendar for a Final Pre-Trial

   4    Conference pursuant to Fed. R. Civ. P. 16. Strict compliance with the

   5    requirements of the Fed. R. Civ. P. and Local Rules are required by the Court.

   6
   7                                             II.

   8
   9    ORDER FOR PREPARATION FOR JURY TRIAL, MOTIONS,

   10   INSTRUCTIONS, AND EXHIBITS

   11
   12        The Court ORDERS that all counsel comply with the following in

   13   their preparation for trial:

   14
   15        1.   MOTIONS IN LIMINE:

   16
   17        All motions in limine must be filed and served a minimum of four (4)

   18   weeks prior to the scheduled pretrial date in accordance with Local Rule 6. Each

   19   motion should be separately filed and numbered. All opposition documents must

   20   be filed and served at least three (3) weeks prior to the scheduled pretrial date. All

   21   reply documents must be filed and served at least two (2) weeks prior to the

   22   scheduled pretrial date. Motions in limine should be used to raise legitimate

   23   evidentiary issues, and not as veiled motions for summary adjudication.

   24
   25        The Court limits the number of in limine motions which a party or

   26   group of affiliated parties may file to four, not including (1) any in limine motion

   27   which seeks an exclusionary sanction under Rule 37(c)(1) of the Federal Rules of

   28   Civil Procedure and (2) any in limine motion which invokes the Court’s power


  Revised February 1, 2023                      −4−
Case 8:19-cv-01363-JVS-KES      Document 115 Filed 09/25/24 Page 5 of 16 Page ID
                                        #:2020
        under Rule 702 of the Federal Rules of Evidence and Daubert v. Merrell Dow
   1
   2    Pharmaceuticals, 509 U.S. 579, 597 (1993), to exclude or limit expert testimony.

   3    Motions made on the latter two grounds shall prominently state the basis for the

   4    motion in the title of the motion on the caption page. Any party desiring to tender

   5    any other in limine motions shall file an ex parte application no later than seven

   6    days prior to the due date for such motions, attaching the proposed motion and

   7    making a showing why it is imperative that the issue be dealt with by a motion in

   8    limine.

   9
   10        The Court deems the following motions to have been made and granted:

   11
   12        • Exclusion of evidence of settlement talks, offers of compromise and

   13   similar evidence excludable under Federal Rule of Evidence 408 without an offer

   14   of proof first made outside the presence of the jury.

   15
   16        • Exclusion of expert opinions not disclosed under Rule 26(a)(2) of

   17   the Federal Rule of Civil Procedure or otherwise subjected to examination at the

   18   expert’s deposition.

   19
   20        All motions in limine will be heard on the scheduled pretrial date,

   21   unless the Court otherwise orders.

   22
   23        2.   JURY INSTRUCTIONS, VERDICT FORMS, and VOIR

   24   DIRE:

   25
   26        Jury Instructions. Thirty days prior to trial, counsel shall meet and

   27   confer for the purpose of submitting a single packet of proposed jury instructions

   28   and objections. The packet shall contain all instructions desired by any party on


  Revised February 1, 2023                     −5−
Case 8:19-cv-01363-JVS-KES        Document 115 Filed 09/25/24 Page 6 of 16 Page ID
                                           #:2021
        all subjects, and shall be organized in the order to be given.
   1
   2
   3         • If an instruction is agreed and joint, it shall be so labeled.

   4
   5         • If the parties submit alternatives instructions on a topic, they shall

   6         be labeled A, B, C etc. (e.g., Party A’s Proposed Instruction No. 2A).

   7         Immediately behind the instruction, the party shall provide a statement

   8         of law in support of its version and any legal objection to the other

   9         party’s proposal.

   10
   11        • If only one party submits an instruction on a topic, the party shall

   12        provide immediately behind the instruction a statement of law in

   13        support of its instruction. If there is any opposition, it shall appear

   14        immediately behind the proponent’s statement.

   15
   16   The single packet shall be filed no later than seven days prior to the trial. At the

   17   same time, the parties shall also submit a WordPefect version to the

   18   JVS_Chambers@cacd.uscourts.gov e-mail box. The Court will entertain such

   19   additional instructions as may be warranted by the evidence offered at trial.

   20
   21        If a proposed instruction is a modification of a pattern instruction, such

   22   as a Ninth Circuit Model Instruction or a CACI instruction, the proponent

   23   shall also include in the packet a version showing all deletions and additions to

   24   the pattern instruction, using bolding, italic, strike outs or similar means.

   25
   26        The parties need not submit preliminary instruction to be given at the

   27   outset of trial, but they may submit additional instructions or revisions of the

   28   Court’s standard initial instructions. See the Court’s website for set of Exemplar


  Revised February 1, 2023                       −6−
Case 8:19-cv-01363-JVS-KES        Document 115 Filed 09/25/24          Page 7 of 16 Page ID
                                            #:2022
       Initial Jury Instructions in pdf. at the bottom of the page:
  1
  2    http://156.131.20.221/CACD/JudgeReq.nsf/2fb080863c88ab47882567c9007fa070/

  3    fd063442150e12a3882579f5006b081e?OpenDocument

  4
  5          Proposed Verdict Form. On the first day of trial, plaintiff shall file

  6    and serve plaintiff’s verdict form on defendant.

  7
  8          Voir Dire. At least four (4) court days prior to trial, each counsel

  9    shall file and serve on opposing counsel any special questions requested to be put

  10   to prospective jurors on voir dire.

  11
  12         3.   TRIAL EXHIBITS

  13
  14         Counsel are to prepare their exhibits for presentation at the trial by

  15   placing them in binders that are indexed by exhibit number with tabs or dividers

  16   on the right side. Counsel shall submit to the Court an original and one copy of

  17   the binders. The exhibits shall be in a three-ring binder labeled on the spine

  18   portion of the binder showing both the volume number and the exhibit numbers

  19   and contain an index of each exhibit included in the volume. Exhibits must be

  20   numbered in accordance with Fed. R. Civ. P. 16, 26, and the Local Rules.

  21   (Please see alternate instructions at Page 15 if the total number of exhibits,

  22   for all parties exceeds 10 volumes.)

  23
  24         The Court requires that the following be submitted to the Courtroom

  25   Deputy Clerk on the first day of trial:

  26
  27              A.   The original exhibits with exhibit tags.

  28   \\\


  Revised February 1, 2023                       −7−
Case 8:19-cv-01363-JVS-KES      Document 115 Filed 09/25/24 Page 8 of 16 Page ID
                   B.                   #:2023
                        One bench book with a copy of each exhibit for use by the
   1
   2    Court, tabbed with numbers as described above. (Exhibit tags not necessary.)

   3
   4               C.   Three (3) copies of exhibit lists, plus an electronic copy in

   5    Word. E-mailing the electronic copy to the Courtroom Deputy is the most

   6    convenient to accomplish this.

   7
   8               D.   Three (3) copies of witness lists.

   9
                   E.   A joint statement of the case suitable for reading by the
   10
        Court to the prospective panel of jurors prior to the commencement of jury
   11
        selection. Counsel are ordered to confer and agree to a one-page joint statement of
   12
        the case no later than five (5) days prior to the trial date.
   13
   14         All counsel are to meet not later than ten (10) days before trial and to

   15   stipulate so far as is possible as to foundation, waiver of the best evidence rule,

   16   and to those exhibits which may be received into evidence at the start of trial. The

   17   exhibits to be so received will be noted on the extra copies of the exhibit lists.

   18
   19                                            III.

   20
   21   ORDER GOVERNING ATTORNEY AND PARTY CONDUCT AT TRIAL:

   22   Opening Statements, Examining Witnesses, and Summation

   23
   24         A.    Unless otherwise ordered, the trial day will be 9:00 a.m. to noon

   25   and 1:30 p.m. to 4:30 p.m. with a 15 minute break during each session. On

   26   first day of trial counsel must be ready at 8:30 a.m.

   27   \\\

   28   \\\


  Revised February 1, 2023                       −8−
Case 8:19-cv-01363-JVS-KES       Document 115 Filed 09/25/24 Page 9 of 16 Page ID
   1          B.   At the end of each day,#:2024
                                           counsel presenting his or her case shall

   2    advise opposing counsel of the witnesses anticipated the following day with an

   3    estimate of the length of direct examination. Opposing counsel shall provide an

   4    estimate of the length of cross-examination. Cooperation of counsel will ensure a

   5    smooth flow of witnesses.

   6
   7          C.   Opening statements, examination of witnesses, and summation

   8    will be from the lectern only. Counsel must not consume time by writing out

   9    words or drawing charts or diagrams. Counsel may do so in advance and explain

   10   that the item was prepared earlier as ordered by the Court to save time.

   11
   12         D.   In final argument of jury cases, counsel must avoid addressing

   13   any juror by name and avoid any appeal to a juror to put himself or herself in the

   14   position of a party, such as “What would you take for such pain?” or “What would

   15   you expect your son or daughter to do in the same circumstances?”

   16
   17         E.   In criminal cases, defense counsel should avoid asking their client

   18   self-serving questions such as whether the client is married, has children, has a

   19   war record or has ever been arrested. Such questions are almost always irrelevant.

   20   Where such information would be relevant in counsel’s opinion, counsel should

   21   obtain permission from the Court prior to making such inquiries.

   22
   23         F.   Never strike the lectern for emphasis.

   24
   25         G.    The Court will honor reasonable time estimates for opening and

   26   closing addresses to the jury. Please be advised this Court will not require a jury

   27   to sit longer than 75 minutes in any one session during counsel’ summation.

   28   \\\


  Revised February 1, 2023                     −9−
Case 8:19-cv-01363-JVS-KES     Document 115 Filed 09/25/24                Page 10 of 16 Page
        Objections to Questions:    ID #:2025
  1
  2
  3          A.    Counsel must not use objections for the purpose of making a

  4     speech, recapitulating testimony, or attempting to guide the witness.

  5
  6          B.     When objecting, counsel must rise to state the objection and state

  7     only that counsel objects and the legal ground of objection. If counsel wishes to

  8     argue an objection further, counsel must ask for permission to do so; the Court

  9     may or may not grant a request for conference at sidebar. The Court strongly

  10    discourage sidebars because they represent an inefficient use of jury time when

  11    matters can be anticipated.

  12    General Decorum:

  13
  14        A.    Please keep the trial low-key. It is not a contest of dramatic ability or

  15    an oratorical contest. It is to be a dignified search for the truth.

  16
  17        B.    Counsel must not approach the Clerk or the witness box without

  18    specific permission. When permission is given, please return to the lectern when

  19    the purpose of the permission is finished. Counsel must not engage in questioning

  20    a witness at the witness stand.

  21
  22        C. Please rise when addressing the Court and rise when the jury enters or

  23    leaves the courtroom.

  24
  25        D.    Counsel must address all remarks to the Court. Counsel are not to address

  26    the Clerk, the Reporter, persons in the audience, or opposing counsel. If counsel

  27    wishes to speak with opposing counsel, counsel must ask permission to talk off the

  28    record. Any request for the re-reading of questions or answers shall be addressed to


  Revised February 1, 2023                       −10−
Case 8:19-cv-01363-JVS-KES         Document 115 Filed 09/25/24         Page 11 of 16 Page
        the Court.                      ID #:2026
  1
  2
  3           E.   Counsel must not address or refer to witnesses or parties by first names

  4     alone. Young witnesses (under 14) may, however, be addressed and referred to

  5     by their first name.

  6
  7           F.   Counsel must not make an offer of stipulation unless counsel has conferred

  8     with opposing counsel and has reason to believe the stipulation will be acceptable.

  9
  10          G.     While Court is in session, counsel must not leave counsel table to

  11    confer with any personnel or witnesses in the back of the courtroom unless

  12    permission has been granted in advance.

  13
  14          H.     Counsel should not by facial expression, nodding or other conduct

  15    exhibit any opinion, adverse or favorable, concerning any testimony being

  16    given by a witness. Counsel should admonish counsel’s own client(s) and

  17    witnesses to avoid such conduct.

  18
  19          I.   Where a party has more than one lawyer, only one may conduct the

  20    direct or cross-examination of a given witness.

  21
  22    Promptness of Counsel and Witnesses:

  23
  24          A.     The Court makes every effort to commence proceedings at the time

  25    set. Promptness is expected from counsel and witnesses. It is counsel’s duty of the

  26    first day of trial to advise the Court of any commitments that may result in

  27    counsel’s absence or late arrival.

  28    \\\


  Revised February 1, 2023                      −11−
Case 8:19-cv-01363-JVS-KES          Document 115 Filed 09/25/24 Page 12 of 16 Page
              B.                           ID #:2027
                    If a witness is on the stand when a recess is taken, it is counsel’s duty
  1
  2     to have the witness back on the stand, ready to proceed, when the court session

  3     resumes.

  4
  5                 (1)   If a witness was on the stand at adjournment, it is counsel’s

  6     duty to have the witness adjacent to, but not on, the stand, ready to proceed

  7     when the court session resumes.

  8
  9                 (2)   It is counsel’s duty to notify the courtroom deputy clerk in

  10    advance if any witness should be accommodated by use of the witness stand’s

  11    automated platform which lowers and raises to accommodate witnesses who are

  12    unable to otherwise take the witness stand.

  13
  14          C.    No presenting party may be without witnesses. If counsel has no more

  15    witnesses to call and there is more than a brief delay, the Court may deem that

  16    the party has rested.

  17
  18          D.    The Court attempts to cooperate with physicians, scientists, and all

  19    other professional witnesses and will, except in extraordinary circumstances,

  20    accommodate them by permitting them to be put on out of sequence. Counsel

  21    must anticipate any such possibility and discuss it with opposing counsel. If there

  22    is objection, confer with the Court in advance.

  23
  24    Exhibits:

  25
  26          A.    Each counsel should keep counsel’s own list of exhibits and should

  27    keep track when each has been admitted in evidence.

  28    \\\


  Revised February 1, 2023                     −12−
Case 8:19-cv-01363-JVS-KES       Document 115 Filed 09/25/24 Page 13 of 16 Page
              B.                        ID #:2028
                   Each counsel is responsible for any exhibits that counsel secures from
  1
  2     the Clerk and, during all recesses and noontime and afternoon adjournments,

  3     counsel must return all exhibits in counsel’s possession to the Clerk.

  4
  5           C.   An exhibit not previously marked should, at the time of its first mention,

  6     be accompanied by a request that the Clerk mark it for identification. To save time,

  7     counsel must show a new exhibit to opposing counsel before it is mentioned in

  8     Court.

  9
  10          D.   Whenever in counsel’s opinion a particular exhibit is admissible,

  11    it should be offered unless tactical considerations dictate otherwise. The motion

  12    to admit will be dealt with at the next available recess if there is objection. No

  13    exhibit shall be read or displayed to the jury until admitted.

  14
  15          E.   When referring to an exhibit, counsel should refer to its exhibit

  16    number whenever possible. Witnesses should be instructed to do the same.

  17
  18          F.   The Court resists taking time to pass an exhibit among the jury for

  19    viewing when it is admitted. A request to do so should be made to the Court

  20    in a recess period preceding introduction of the exhibit.

  21
  22          G.   Absent unusual circumstances, counsel must not ask witnesses to

  23    draw charts or diagrams nor ask the Court’s permission for a witness to do so. If

  24    counsel wishes to question a witness in connection with graphic aids, the material

  25    must be fully prepared before the court session starts.

  26
  27          H.   Exhibit Binders.

  28    \\\


  Revised February 1, 2023                     −13−
Case 8:19-cv-01363-JVS-KES      Document 115 Filed 09/25/24 Page 14 of 16 Page
  1          1.   Where the volume of ID #:2029is less than ten binders, Counsel are to
                                       exhibits

  2     prepare exhibits for trial by placing them in three ring binders that are indexed by

  3     exhibit number with tabs or dividers on the right side and indicating on the spine

  4     of the binder the exhibit numbers contained and the volume number. The exhibits

  5     must be numbered in accordance with Fed. R. Civ. P. 16, 26 and the Local Rules.

  6     Counsel shall have the original set (with exhibit tags) and a bench copy on the

  7     exhibits, three (3) copies of the exhibit list and three (3) copies of the witness list to

  8     the Courtroom Deputy Clerk on the first day of trial.

  9
  10         2.   Where the volume of exhibits is greater than ten binders Counsel

  11    are to prepare one (1) full set of the exhibits in three ring binders that are indexed

  12    by exhibit number with tabs or dividers on the right side and indicating on the

  13    spine of the binder the exhibit numbers contained and the volume number. Each

  14    exhibit shall have an exhibit tag (These are the exhibits that will go to the jury

  15    during deliberations). With regard to exhibits for the Judge and witnesses, there

  16    should be a book for each witness that contains only the exhibits needed for that

  17    specific witness with dividers on the right side. This book should be presented to

  18    the witness when the witness is called. A copy of this book should be provided to

  19    the Judge at the time the witness is called. The Court requires counsel to submit

  20    the full set of exhibits, three (3) copies of the exhibit list and three (3) copies of

  21    the witness list to the Courtroom Deputy Clerk on the first day of trial.

  22
  23    Depositions:

  24
  25         A.    All depositions that will be used in the trial, either as evidence or for

  26    impeachment, must be signed and lodged with the Courtroom Deputy on the first

  27    day of trial or such earlier date as the Court may order. For any deposition in

  28    which counsel is interested, counsel should check with the clerk to confirm that


  Revised February 1, 2023                      −14−
Case 8:19-cv-01363-JVS-KES         Document 115 Filed 09/25/24 Page 15 of 16 Page
                                          ID #:2030
        the clerk has the transcript and that the transcript is properly signed.
  1
  2
  3          B.   In using depositions of an adverse party for impeachment, counsel

  4     shall first announce the page and line reference of the passage desired to be

  5     read, and allow opposing counsel an opportunity to state any objection. Counsel

  6     shall use either of the following procedures:

  7
  8                      (1)   If counsel wishes to read the questions and answers as

  9     alleged impeachment and ask the witness no further questions on that subject,

  10    counsel may merely read the relevant portions of the deposition into the record.

  11
  12                     (2)   If counsel wishes to ask the witness further questions on

  13    the subject matter, the deposition is placed in front of the witness and the witness

  14    is told to read silently the pages and lines involved. Then counsel may either ask

  15    the witness further questions on the matter and thereafter read the quotations or

  16    read the quotations and thereafter ask further questions. Counsel should have an

  17    extra copy of the deposition for this purpose.

  18
  19         C.   Where a witness is absent and the witness’ testimony is offered

  20    by deposition, please observe the following procedure. A reader should occupy

  21    the witness chair and read the testimony of the witness while the examining lawyer

  22    asks the questions.

  23
  24    Using Numerous Answers to Interrogatories and Requests for Admissions:

  25
  26         Whenever counsel expects to offer answers to interrogatories or requests

  27    for admissions, the desired discovery shall be read to the jury. Any objections

  28    shall be resolved in advance.


  Revised February 1, 2023                     −15−
Case 8:19-cv-01363-JVS-KES    Document 115 Filed 09/25/24               Page 16 of 16 Page
  1     Advance Notice of EvidentiaryIDor#:2031
                                           Difficult Questions:

  2
  3          If counsel has reason to anticipate that a difficult question of law or

  4     evidence will raise legal argument, requiring research and/or briefing, counsel

  5     must give the Court advance notice. Counsel are directed to notify the Clerk at the

  6     day’s adjournment if an unexpected legal issue arises that could not have been

  7     foreseen and addressed by a motion in limine (see Fed. R. Evid. 103). To the

  8     maximum extent possible such matters shall be taken outside normal jury hours

  9     (e.g., recess, before or after the trial day).

  10
  11    Juror Questionnaires:

  12
  13         The Court discourages the use of juror questionnaires except in complex

  14    cases or cases involving juror privacy issues. If a party intends to propose a

  15    questionnaire, the party shall meet and confer with all parties with the goal

  16    of arriving at a joint questionnaire. Any proposed questionnaire shall be

  17    submitted to the Court not later than thirty days prior to trial. The particulars for

  18    administering a questionnaire will be discussed at the pretrial conference.

  19
                                                IV.
  20
             The Clerk is ordered to serve a copy of this Order on counsel/parties
  21
        in this action.
  22
  23       IT IS SO ORDERED.
  24
  25 DATED: September 25, 2024
  26                                          James V. Selna
                                              United States District Judge
  27
  28


  Revised February 1, 2023                       −16−
